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 6                      IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
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     United States of America ex rel.               CV-20-00176-PHX-GMS
 9   Radhakrishnan, et al.,                         LEAD CASE
10                      Plaintiffs,                 Consolidated with
                                                    No. CV-21-00010-PHX-GMS
11           v.                                     No. CV-21-01206-PHX-GMS
12   Gampel, et al.,                                ORDER
13                      Defendants.
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15   United States of America ex rel.
     Terry, et al.,
16
                        Plaintiffs,
17
     v.
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     Modern Vascular of Glendale, LLC,
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                        Defendant.
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21   United States of America ex rel. Jane
     Doe, et al.,
22
                        Plaintiffs,
23
     v.
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     Modern Vascular LLC, et al.,
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                        Defendants.
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             Before the Court is The United States’ Notice of Election to Intervene and the
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       Case 2:20-cv-00176-GMS Document 26 Filed 09/16/22 Page 2 of 2



 1   Plaintiff States’ Notice to Decline Intervention (Doc. 25)
 2             The United States having intervened in this action, pursuant to the False Claims
 3   Act, 31 U.S.C. § 3730(b)(4), IT IS ORDERED:
 4             1.       The Clerk shall unseal the Relators’ Complaints, the United States’ Notice
 5   of Intervention, and this Order;
 6             2.       The United States shall file its Complaint-in-Intervention within 90 days;
 7             3.       The United States shall serve its Complaint upon Defendants, together with
 8   this Order, as provided under the Federal Civil Rules of Procedure;
 9             4.       All other papers or Orders on file in this matter shall remain under seal;
10             5.       The seal shall be lifted on all matters occurring in this action after the date
11   of this Order;
12             6.       The parties shall serve or otherwise provide notice of all pleadings and
13   motions filed in this action, including supporting memoranda, upon each of the Plaintiff
14   States.        The Plaintiff States may order any deposition transcripts and may intervene in
15   this action at a later date pursuant to applicable state law;
16             7.       The parties shall serve all notices of appeal upon the Plaintiff States; and
17             8.       All orders of this Court shall be sent to the Plaintiff States.
18             Dated this 15th day of September, 2022.
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